
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-05-256-CV





IN RE BRUCE SCOTT GARRETT	RELATOR



------------

ORIGINAL PROCEEDING

------------

MEMORANDUM OPINION
(footnote: 1)
------------

The court has considered relator's petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relator's petition for writ of mandamus is denied.



PER CURIAM





PANEL B:	HOLMAN, WALKER, and MCCOY, JJ.



DELIVERED: August 18, 2005

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




